Case 8:18-cv-01151-PX Document 1 Filed 04/20/18 Page 1 of 8
Case 8:18-cv-01151-PX Document 1 Filed 04/20/18 Page 2 of 8
Case 8:18-cv-01151-PX Document 1 Filed 04/20/18 Page 3 of 8
Case 8:18-cv-01151-PX Document 1 Filed 04/20/18 Page 4 of 8
Case 8:18-cv-01151-PX Document 1 Filed 04/20/18 Page 5 of 8
Case 8:18-cv-01151-PX Document 1 Filed 04/20/18 Page 6 of 8
Case 8:18-cv-01151-PX Document 1 Filed 04/20/18 Page 7 of 8
Case 8:18-cv-01151-PX Document 1 Filed 04/20/18 Page 8 of 8
